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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

)

)

Plaintiff, )

)

VS. . ) CASE NO. 17-CR-2558 MV

ARTHUR PERRAULT, )
)

Defendant. )

M§l

 
   

WE, THE JURY, find the defendant, ARTHUR PERRAULT
(Gm'lty cr Not Guil )

of aggravated sexual abuse as charged in Count 1 of the Indictrnent.

 
   

WE, THE JURY, find the defendant, ARTHUR PERRAULT '
(Guilly or Not Gm'l )

of aggravated sexual abuse as charged in Count 2 cf the Indictment.

WE, THE JURY, find the defendant, ARTHUR PERRAULT ` ‘ ,
(Guilty cr Not Guil

cf aggravated sexual abuse as charged in Count 3 of the lndictment.

 
    

WE, THE JURY, find the defendant, AR'I`HUR PERRAUL
(Guilty or Not Guz°

cf aggravated sexual abuse as charged in Ccunt 4 of the Indictment.

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WE, THE JURY, find the defendant ARTHUR PERRAULT ,
(Guilly cr Not Guilt )

cf abusive sexual contact as charged in Ccunt 5 cf the Indictment.

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WE, THE JURY, find the defendant, ARTHUR PERRAULT ,
(Guilty 01' Not Guilty

of aggravated sexual abuse as charged in Count 6 cf` the Indictment.

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WE, THE JURY, find the defendant, ARTHUR PERRAULT - ,
(Guilty or Not Guilly

of aggravated sexual abuse as charged in Ccunt 7 cf the Indictmeht.

DATED this l § 2 day Oi`Apl‘il, 2019.

 

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WE, 'I`HE JURY, find the defendant, ARTHUR PERRAULT ,
(Gm'liy cr Not Guil )

of abusive sexual contact as charged in Count 5 cf the lndictment.

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WE, THE JURY, find the defendant, AR'I`HUR PERRAULT ,
(Guih‘y cr Not Guilty

cf aggravated sexual abuse as charged in Ccunt 6 cf the Indictment.

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WE, THE JURY, find the defendant, ARTHUR PERRAULT ,
(Guilty or Not Guih‘y

of aggravated sexual abuse as charged in Count 7 of the Indictment.

DATEDthiS j@_day ofA m 2019.

  

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